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11                              IN THE UNITED STATES DISTRICT COURT

12                           FOR THE EASTERN DISTRICT OF CALIFORNIA

13                                        SACRAMENTO DIVISION

14

15
       RALPH COLEMAN, et al.,                               2:90-cv-00520 LKK JFM PC
16
                                             Plaintiffs, NOTICE OF APPEAL TO THE UNITED
17                                                       STATES COURT OF APPEALS FOR
                      v.                                 THE NINTH CIRCUIT
18

19     EDMUND G. BROWN, JR., et al.,                        Judge:   The Honorable Lawrence K.
                                                                     Karlton
20                                         Defendants. Action Filed: Aug. 23, 1990

21
             The State Defendants—including Edmund G. Brown Jr., Governor of the State of
22
       California; Dr. Jeffrey Beard, Secretary of the California Department of Corrections and
23
       Rehabilitation; Ana J. Matosantos, Director of the Department of Finance; and Cliff Allenby,
24
       Acting Director of the Department of State Hospitals—appeal to the United States Court of
25
       Appeals for the Ninth Circuit from this Court’s order, entered on July 11, 2013, granting in part
26
       Plaintiffs’ Motion for Enforcement of Court Orders and Affirmative Relief Related to Inpatient
27

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                                                        1
                                                                     Not. of Appeal (2:90-cv-00520 LKK JFM PC)
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 1     Treatment, and directing the Special Master to commence supervision of all Department of State
 2     Hospitals programs providing inpatient mental health care to the plaintiff class. (ECF No. 4688.)
 3           In addition, Defendants appeal from all earlier, nonfinal orders that produced the judgment
 4     and are thereby merged with it. See Am. Ironworks & Erectors Inc. v. N. Am. Const. Corp., 248
 5     F.3d 892, 897 (9th Cir. 2001). These orders include, but are not limited to, the Court’s order
 6     made orally during the June 19, 2013 evidentiary hearing, denying Defendants’ motions in limine
 7     to exclude evidence (ECF Nos. 4659, 4660, 4661).
 8

 9     Dated: August 12, 2013                               Respectfully submitted,
10                                                          KAMALA D. HARRIS
                                                            Attorney General of California
11                                                          JAY C. RUSSELL
                                                            Supervising Deputy Attorney General
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13                                                          PATRICK MCKINNEY
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15                                                          Deputy Attorney General

16

17                                                          /s/ Kevin A. Voth
                                                            KEVIN A. VOTH
18                                                          Deputy Attorney General
                                                            Attorneys for Defendants
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                                                                  Not. of Appeal (2:90-cv-00520 LKK JFM PC)
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                              CERTIFICATE OF SERVICE
Case Name:     Coleman v. Brown, et al.,                   No.     2:90-cv-00520 LKK JFM PC

I hereby certify that on August 12, 2013, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
         NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR
         THE NINTH CIRCUIT
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on August 12, 2013, at San Francisco,
California.


               S. Johnson                                           /s/ S. Johnson
               Declarant                                               Signature
CF1997CS0003
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